                                                                                                                  FILED IN MY OFFICE
                                                                                                              DISTRICT COURT CLERK
                                                                                                                    3/23/2018 11 :52 AM
                                                                                                                         James A. Noel
                                                                                                                           Brittany Tso
                                          SUMMONS ON COMPLAINT

Court address:              Second Judicial District Court                 No.: D-202-CV-2018-02234
                            Bernalillo County Courthouse                   Judge: Beatrice Brickhouse
                            P.O. Box 488, County Courthouse
                            Albuquerque, NM 87103

Court Telephone No. (505) 841-7438

BOBCRABTREEANDANNETTECRABTREE                                     Defendant's Name:
     PLAINTIFFS,                                                  WELLS FARGO BANK, N.A., AS TRUSTEE
                                                                  FOR THE POOLING AND SERVICING
                                                                  AGREEMENT DATED AS OF OCTOBER 1,
                                                                  2004, MERRILL LYNCH MORTGAGE
                                                                  INVESTORS TRUST MORTGAGE LOAN
                                                                  ASSET-BACKED CERTfFICATES, SERIES
v.                                                                2004-WMCS
                                                                  200LomasNW
WELLS FARGO BANK, N.A., AS TRUSTEE FOR                            Albuquerque, NM 87102
THE POOLING AND SERVICING AGREEMENT
DATED AS OF OCTOBER 1, 2004, MERRILL LYNCH
MORTGAGE INVESTORS TRUST MORTGAGE LOAN
ASSET-BACKED CERTIBICATES, SERIES 2004-WMCS;
ALTISOURCE A/KIA ALTISOURCE SINGLE :FAMILY, INC.,
PROPERTY PRESERVATION SERVICING, LLC,
JOHN DOE I, JOHN DOE II, JOHN DOE III, AND JOHN DOE IV,
      DEFENDANTS.

                         TO THE ABOVE NAMED DEFENDANT(S): Take notice that
1.   A lawsuit has been filed against you. A copy of the lawsuit is attached. The Court issued this Summons.

2. You must respond to this lawsuit in writing. You must file your written response with the Court no later than thirty
(30) days from the date you are served with this Summons. (The date you are considered served with the Summons is
determined by Rule 1-004 NMRA) The Court's address is listed above.

3. You must file (in person or by mail) your written response with the Court. When you file your response, you must
give or mail a copy to the person who signed the lawsuit.

4.   If you do not respond in writing, the Court may enter judgment against you as requested in the lawsuit.

5. You arc entitled to a jury trial in most types of lawsuits. To ask for a jury trial, you must request one in writing and
pay a jury fee.

6.   If you need an interpreter, you must ask for one in writing.

7. You may wish to consult a lawyer. You may contact the State Bar of New Mexico for help finding a lawyer at
www.nmbar.org; 1-800-876-6227; or 1-505-797-6066.
                                       3/21/2018
                                                                      L
                        JAMES:\, NOEL
                        CLEJlK OF THE DISTRICT COURT                       Attorney for Plaintiffs:
                                                                           ROBERT D. GORMAN, P.A.
                                                                           P.O. Box 25164
                                                                           Albuquerque, NM 87125-0164
                                                                           P. (505) 243-5442 IF. (505) 247-1539
                                                                           Email: louis@rdgormanlaw.com

THIS SUMMONS IS ISSUED PURSUANT TO RULE 1-004 NMRA OF THE NEW MEXICO RULES OF CIVIL
PROCEDURE FOR DISTRICT COURTS.




                                                                                                                   Exhibit D
                                                        RETURN 1
STATE OF NEW MEXICO                           )
                                              )   SS.
COUNTY OF BERNALILLO                          )




      eek one box and fill in a     opriate blanks
         to the defenda                              used when defendant accepts a copy of summons and
         amended complaint or refus to accept the summons and amended complaint).
[ ]      to the defendant by [mail] [courier service] as provided by Rule 1-004 NMRA (used when service
         is by mail or commercial courier service).

After attempting to serve the summons and amended complaint on the defendant by personal service or by
mail or commercial courier service, by delivering a copy of this summons, with a copy of amended complaint
attached, in the following manner:
[ ]      to                      , a person over fifteen ( 15) years of age and residing at the usual place of
         abode of defendant                          , (used when the defendant is not presently at place of
         abode) and by mailing by first class mail to the defendant at                                 (insert
         defendant's last known mailing address) a copy of the summons and amended complaint.
[ ]      to                        , the person apparently in charge at the actual place of business or
         employment of the defendant and by mailing by first class mail to the defendant at
         _ _ _ _ _ _ _ _ (insert defendant's business address) and by mailing the summons and
         amended complaint by first class mail to the defendant at                        (insert defendant's
              kn   n mailin       ddr s).
JXf                                               ent authorized to receive service of process for defendant

[ ]       o                           , [parent] [guardian] [custodian] [conservator] [guardian ad !item] of
         defendant                          (used when defendant is a minor or an incompetent person).
[ ]      to                          (name ofperson),                         , (title ofperson authorized to
         receive service. Use this alternative when the defendant is corporation or an association subject to
         a suit under a common name, a land grant board of trustees, the State of New Mexico or any
         political subdivision).




                                                                                                  2




                                                             OFFICIAL SEAL
                                                        ROBERT D. GORMAN
                                                        Notary Public State of New Mexico
                                            My commission Expires        1~'}{) -I <f
 USE NOTE
 1. Unless otherwise ordered by the court, this return is not to be filed with the court prior to service of the
summons and amended complaint on the defendant.

 2. If service is made by the sheriff or a deputy sheriff of a New Mexico county, the signature of the sheriff
or deputy sheriff need not be notarized.

 [Adopted effective August 1, 1988; as amended by Supreme Court Order 05-8300-01, effective March 1,
2005; as amended by Supreme Court Order 07-8300-16, effective August 1, 2007; as amended by Supreme
Court Order 12-8300-026, effective for all cases filed or pending on or after January 7, 2013; as amended
by Supreme Court Order No. 13-8300-022, effective for all cases pending or filed on or after December 31,
2013; as amended by Supreme Court Order No. 14-8300-017, effective for all cases pending or filed on or
after December 31, 2014.]
